                                            Case 18-91144-AKM-7A                   Doc 16            Filed 04/29/19
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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:       1

                                                                                           ASSET CASES

Case No.:                      18-91144-BHL                                                                                                              Trustee Name:                               Charity S. Bird
Case Name:                     HOELTKE, JEREMY DALE                                                                                                      Date Filed (f) or Converted (c):            08/03/2018 (f)
For the Period Ending:         03/31/2019                                                                                                                §341(a) Meeting Date:                       09/12/2018
                                                                                                                                                         Claims Bar Date:                            01/22/2019

                                   1                                          2                                3                                 4                        5                                            6

                           Asset Description                                Petition/                   Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                Unscheduled                  (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                             Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       1995 GMC Sierra 1500 216000 miles                                          $424.00                                      $0.00                                            $0.00                                          FA
2          Household goods and furnishings                                         $800.00                                      $0.00                                            $0.00                                          FA
3          Sports equipment, cameras, bicycles and other                           $300.00                                      $0.00                                            $0.00                                          FA
           hobby equipment
4          Wearing Apparel                                                         $400.00                                      $0.00                                            $0.00                                          FA
5          Jewelry                                                                  $50.00                                      $0.00                                            $0.00                                          FA
6          Cash on hand                                                             $20.00                                      $0.00                                            $0.00                                          FA
7          Checking Account Centra Credit Union                                    $100.00                                      $0.00                                            $0.00                                          FA
8          Savings Account Centra Credit Union                                      $10.00                                      $0.00                                            $0.00                                          FA
9          State Farm child                                                        $200.00                                      $0.00                                            $0.00                                          FA
10         2018 Prorated Federal Tax Refund                         (u)           $2,236.00                              $2,236.00                                        $4,845.00                                         $0.00


TOTALS (Excluding unknown value)                                                                                                                                                                  Gross Value of Remaining Assets
                                                                                  $4,540.00                             $2,236.00                                             $4,845.00                                   $0.00




    Initial Projected Date Of Final Report (TFR):          06/30/2019                         Current Projected Date Of Final Report (TFR):                                    /s/ CHARITY S. BIRD
                                                                                                                                                                               CHARITY S. BIRD
                                          Case 18-91144-AKM-7A       Doc 16           Filed 04/29/19
                                                                                          FORM   2            EOD 04/29/19 11:06:07                      Pg 2 of 3Page No: 1
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                            18-91144-BHL                                                                                 Trustee Name:                         Charity S. Bird
 Case Name:                          HOELTKE, JEREMY DALE                                                                         Bank Name:                            Independent Bank
Primary Taxpayer ID #:               **-***7412                                                                                   Checking Acct #:                      ******1144
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:                8/3/2018                                                                                     Blanket bond (per case limit):        $48,364,291.00
For Period Ending:                   03/31/2019                                                                                   Separate bond (if applicable):

       1                2                                3                                            4                                                   5                 6                7

   Transaction       Check /                         Paid to/             Description of Transaction                               Uniform           Deposit          Disbursement         Balance
      Date            Ref. #                      Received From                                                                   Tran Code            $                   $


03/28/2019                     IRS                                2018 federal tax refund intercept                                    *                $4,845.00                                $4,845.00
                      {10}                                        Estate portion of federal tax refund               $2,945.12     1224-000                                                    $4,845.00
                      {10}                                        Debtor's portion of federal tax refund             $1,899.88     1280-000                                                    $4,845.00

                                                                                     TOTALS:                                                            $4,845.00                $0.00         $4,845.00
                                                                                         Less: Bank transfers/CDs                                           $0.00                $0.00
                                                                                     Subtotal                                                           $4,845.00                $0.00
                                                                                         Less: Payments to debtors                                          $0.00                $0.00
                                                                                     Net                                                                $4,845.00                $0.00



                     For the period of 8/3/2018 to 03/31/2019                                                  For the entire history of the account between 03/28/2019 to 03/31/2019

                     Total Compensable Receipts:                    $4,845.00                                  Total Compensable Receipts:                                 $4,845.00
                     Total Non-Compensable Receipts:                    $0.00                                  Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                  $4,845.00                                  Total Comp/Non Comp Receipts:                               $4,845.00
                     Total Internal/Transfer Receipts:                  $0.00                                  Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                   $0.00                                  Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:               $0.00                                  Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                  Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:             $0.00                                  Total Internal/Transfer Disbursements:                           $0.00
                                        Case 18-91144-AKM-7A        Doc 16        Filed 04/29/19
                                                                                      FORM   2      EOD 04/29/19 11:06:07                    Pg 3 of 3Page No: 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          18-91144-BHL                                                                         Trustee Name:                         Charity S. Bird
Case Name:                        HOELTKE, JEREMY DALE                                                                 Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***7412                                                                           Checking Acct #:                     ******1144
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:             8/3/2018                                                                             Blanket bond (per case limit):        $48,364,291.00
For Period Ending:                03/31/2019                                                                           Separate bond (if applicable):

      1                 2                                3                                     4                                             5                   6                7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit          Disbursement         Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                   $




                                                                                                                                                                     NET          ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE         BALANCES

                                                                                                                                          $4,845.00                  $0.00          $4,845.00




                     For the period of 8/3/2018 to 03/31/2019                                       For the entire history of the case between 08/03/2018 to 03/31/2019

                     Total Compensable Receipts:                   $4,845.00                        Total Compensable Receipts:                                 $4,845.00
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $4,845.00                        Total Comp/Non Comp Receipts:                               $4,845.00
                     Total Internal/Transfer Receipts:                 $0.00                        Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                 $0.00                         Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:             $0.00                         Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:               $0.00                         Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:           $0.00                         Total Internal/Transfer Disbursements:                           $0.00




                                                                                                                    /s/ CHARITY S. BIRD
                                                                                                                    CHARITY S. BIRD
